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         ATTACHMENT 1
    Case 2:15-ml-02668-PSG-SK Document 1446-1 Filed 06/20/24 Page 2 of 2 Page ID
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                                  LJones_53_14-18
DESIGNATION      SOURCE                                                           DURATION          ID

 53:14 - 53:18   Jones, Lawrence 2022-07-08                                        00:00:18   LJones_53_14-18
                 53:14   Q. The                                                                     .1
                 53:15     understanding with the NFL that Sunday Ticket would
                 53:16     be limited in terms of the number of subscribers,
                 53:17     was FOX Sports willing to pay more for its broadcast
                 53:18     rights?
 53:20 - 53:21   Jones, Lawrence 2022-07-08                                        00:00:08   LJones_53_14-18
                 53:20     THE WITNESS: No. We were prepared to pay                                 .2
                 53:21     less if we didn't get that.




                                                                                                          2/2
